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 UNITED STATES DISTRICT COURT
 DISTRICT OF NEW JERSEY


 SECURITIES AND EXCHANGE COMMISSION,

                        Plaintiff,

                v.                            No. 2:16 Civ. 01619 (JLL)(JAD)

 GUY GENTILE,

                        Defendant.




                      REPLY MEMORANDUM OF LAW IN SUPPORT OF
                     DEFENDANT GUY GENTILE’S MOTION TO DISMISS




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                                  PRELIMINARY STATEMENT

        The SEC concedes that this case is time barred, candidly admitting that any alleged

 wrongdoing by Gentile ended nine years ago and expressly withdraws any claim for

 disgorgement or civil money penalty. In other words, since the Commission brought “an action,

 suit, or proceeding for the enforcement of [a] civil fine, penalty, or forfeiture, pecuniary or

 otherwise” that was not commenced within five years, it abandons all five of its causes of action.

        The SEC then pivots and asserts that even though all its claims are time barred, it can still

 obtain “remedies” in the form of an “obey the law” injunction, and an order enjoining Gentile

 from offering penny stock, i.e., an industry bar. To do this, it demands from this Court an extra-

 ordinary ruling, asking for the Court to hold that (1) the SEC can bring an action at any time into

 perpetuity, and (2) no defendant may challenge the timeliness of such a complaint until after

 “resolution of the merits.” (SEC Opp. pg 2)

        The Commission makes two fundamental errors in its opposition brief. First, it misstates

 Gentile’s actual arguments, reframing Gentile’s position as “contest[ing] the Court’s power to

 enjoin him from future violations of the securities laws.” (SEC Opp. pg. 1). But Gentile does not

 contest this “court’s power to enjoin him from future violations,” but rather the Commission’s

 ability to seek this penalty after five years, and without pleading any facts showing an

 entitlement to that relief, i.e., that he is engaged or is about to engage in any securities laws

 violation, particularly considering the SEC did not believe he needed to be enjoined for the past

 five years while he was cooperating.

        The Commission also wrongly asserts that “Defendant argues that this Court should

 ignore years of precedent to hold that injunctive relief is punitive and therefore subject to a five

 year statute of limitations.” (Id.) But Gentile never asserted that this Court should ignore years of




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 precedent, rather that all such precedent must now be read in light of Kokesh, which set forth

 what constitutes a “penalty” under § 2462, the word and statute at the crux of this case.

        Plainly, the SEC’s three arguments it asserts to try to salvage its complaint fail. First, the

 SEC’s argument that injunctions are, per se, remedial and cannot be considered penalties is

 belied by Kokesh as well as the very case it cites for the proposition, the Eighth Circuit’s

 decision in SEC v. Collyard. Collyard, which expressly ruled that the SEC cannot circumvent

 § 2462’s mandate merely by labeling an injunction (or disgorgement) as “equitable.” Second, the

 SEC argues that it must get to a “determination on the merits” before the Court considers

 whether the injunctions it seeks are penal in nature. This would upend established civil

 procedure. If the SEC could allege facts that would show a purely remedial purpose for the relief

 it seeks, it should have done so. Third, the SEC asks this Court to consider Gentile’s public

 criticism of the SEC and other governmental agencies as purported evidence of his “contempt”

 for authorities, which the SEC argues, justifies the imposition of an injunction. This argument is

 perverse. The notion that an individual’s public criticism of the government can be used to

 demonstrate a propensity to violate the law is deeply troubling. What Gentile says publicly about

 the SEC – and in a single email sent in direct response to the SEC’s April 26 letter to the Court

 that contained material false statements, as the SEC has since acknowledged – has no bearing on

 whether he is likely to commit a securities violation.

        By narrowing its requested relief to an injunction against violation of the securities laws

 and barring Gentile from an industry, the SEC hopes to avoid the impact of Kokesh by casting its

 claims as purely remedial. But the sanctions the SEC continues to seek are just as punitive as the

 pecuniary relief the SEC has abandoned. Merely labeling them as “equitable” is insufficient to

 save the complaint, as the Supreme Court just instructed the SEC in Kokesh.




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         Tellingly, the SEC declined to address Gentile’s simple question in his opening brief and

 to take the opportunity to explain why, if the SEC believes Gentile needs to be immediately

 enjoined to prevent future harm to the public now, it did not seek an injunction at any time over

 the last seven years. If the SEC had any plausible answer to this question other than the obvious

 one – that it seeks to punish him, at least in part, for alleged conduct from 2007 and 2008 – then

 surely the SEC would have included it in its opposition brief. It did not. This is obviously an

 “action, suit or proceeding for the enforcement of any civil fine, penalty, or forfeiture, pecuniary

 or otherwise….” brought beyond the five-year limitations period.

                                           ARGUMENT

    I.      The Punitive Injunction and Industry Bar the SEC Seeks to Impose on Gentile
            Are Time-Barred by § 2462

            a. The Face of the Complaint Makes Clear that the Injunctions Sought Here Are
               Punitive

         The SEC urges this Court to rule that injunctions are never punitive, asserting that

 “Congress has always understood that an injunction issued in a SEC action cannot be used to

 punish.” (SEC Opp. pg. 12-13) The SEC asks that the Court ignore the Supreme Court’s ruling

 in Kokesh, a case which provides the required framework for determining whether any sanction

 is a “penalty” under Section 2462, subject to a limitations period. (SEC Opp. pg. 15)

         The SEC suggests that Kokesh is inapplicable because that case analyzed disgorgement, a

 penalty that is not explicitly referenced in Section 2462, whereas injunctions – which like

 disgorgement, are also not explicitly referenced in Section 2462 – have been “indisputably

 authorized” by Congress. But Congress authorized the SEC to seek injunctions upon allegations

 that the defendant “is engaged or about to engage in” a securities violation, and says nothing




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 about whether they can be punitive. 3 That the SEC has been authorized to seek injunctions under

 certain circumstances surely does not limit the Court from determining whether an injunction

 sought constitutes a penalty under Section 2462. Under Kokesh, if they are also punitive – even

 just in part – then the limitations period applies.

         To understand the reach of Section 2462, this Court must consider the statute’s plain

 language and history. See U.S. v. Ron Pair Enters., Inc., 489 U.S. 235, 242 (1989). By its plain

 language, Section 2462 applies to “an action, suit or proceeding for the enforcement of any civil

 fine, penalty, or forfeiture, pecuniary or otherwise.” The statute’s reach clearly covers non-

 pecuniary penalties and forfeitures, including injunctions and industry bars, because “pecuniary

 or otherwise” modifies the word “penalty.” This is confirmed by reference to the statute’s

 predecessor, Rev. Stat. § 1047, Comp. Stat. 1913, § 1712, which originally imposed a five-year

 statute of limitations on any “suit or prosecution for a penalty or forfeiture, pecuniary or

 otherwise…” See Meeker v. Lehigh Valley R. Co., 236 U.S. 412, 423 (1915) (“The words

 ‘penalty or forfeiture’ in this section refer to something imposed in a punitive way for an

 infraction of a public law…”). 4 Indeed, Kokesh relied on case law going back nearly 150 years

 in finding that under Section 2462, a “penalty” is a “punishment, whether corporal or




 3 See Cmplt. at ¶ 10 (“The SEC brings this action pursuant to the authority conferred upon it by
 Section 20(b) of the Securities Act, 15 U.S.C. § 77t(b), and Section 21(d)(1) of the Exchange
 Act, 15 U.S.C. § 78u(d)(1)….”). Under both provisions, Congress has authorized only that
 “[w]henever it shall appear to the SEC that any person is engaged or about to engage in any acts
 or practices [which constitute or will constitute] a violation…[the SEC] may…bring an
 action…to enjoin such acts or practices….”). Compare with 15 U.S.C. § 80b-9 (“Whenever it
 shall appear to the Commission that any person has engaged, is engaged, or is about to
 engage…”) (emphasis added). Had Congress intended to authorize the SEC to seek injunctions
 for past conduct under the provisions relied upon in this case, clearly they would have included
 the “has engaged” language – contained in the Advisor’s Act – in the Securities Act and
 Exchange Act.
 4 See also United States v. Telluride Co., 146 F.3d 1241, 1245 (10th Cir. 1998).




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 pecuniary,” and whether “pecuniary or otherwise.” Kokesh, 137 S.Ct.at 1642 (emphasis added).

 The argument that Section 2462 has no applicability to injunctions is unsupportable.

        Even before Kokesh, many courts held that an injunction is sometimes a penalty and

 sometimes remedial. See SEC v. Jones, 476 F. Supp. 2d 374, 383-385 (S.D.N.Y. 2007). Yet, the

 cases that the SEC cites are from circuits that generally incorrectly held disgorgement, as well as

 injunctions, are always remedial, based on the SEC’s mere labeling of these remedies as such.

 But Kokesh rejected this approach, thus vacating in part and undermining the reasoning in all the

 cases the SEC relies upon. See Kokesh, 137 S. Ct. at 1644 (“A civil sanction that cannot fairly be

 said solely to serve a remedial purpose, but rather can only be explained as also serving either

 retributive or deterrent purposes, is punishment, as we have come to understand the term”).

        Notwithstanding the SEC’s assertion to the contrary, Kokesh relied in part on prior circuit

 court decisions, which found that an injunction may constitute a penalty under Section 2462,

 specifically relying on the same cases and same language cited by the Supreme Court in Kokesh.

 See, e.g., Johnson v. SEC, 87 F.3d 484, 492 (D.C. Cir. 1996) (§ 2462’s five-year limitation

 applies to SEC proceedings which seek to censure and suspend a securities supervisor); SEC v.

 Bartek, 484 Fed. App’x 949, 957 (5th Cir. 2012) (“Based on the severity and permanent nature

 of the [lifetime ban against the Defendants], the district court did not error in denying the SEC’s

 request on grounds that the remedies are punitive, and are thus subject to § 2462’s time

 limitations”). As such, contrary to the SEC’s mischaracterization of Gentile’s arguments, Gentile

 actually argues that the Court should consider all precedential cases in light of Kokesh.

            b.          Collyard Supports Dismissal of the Complaint.

        The SEC argues that “courts before and after Kokesh have consistently ruled that

 disgorgement is qualitatively different from injunctions for Section 2462 purposes.” (SEC Opp.




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 pgs. 13-14) This is not correct. The Eighth Circuit had occasion to consider Kokesh in deciding

 an appeal of a SEC injunction in SEC v. Collyard. Contrary to the SEC’s depiction of Collyard

 as “reject[ing] all of the arguments Defendant makes here,” Collyard in fact affirms Gentile’s

 position. Indeed, Collyard found that “[j]ust as disgorgement’s ‘equitable’ label does not exempt

 it from being a § 2462 ‘penalty,’ injunction’s ‘equitable’ label does not exempt it from being a §

 2462 ‘penalty.’” 861 F.3d 760, 763 (8th Cir. 2017). The Collyard court ultimately declined to

 rule on “[t]he court of appeals split over whether an injunction can be a § 2462 penalty” and

 found that under the specific facts before it – specifically evidence of a likely violation of the

 securities laws – the injunction was equitable. However, it noted that “Kokesh undermines [the]

 determination that a claim is not a ‘penalty’ simply because it is ‘equitable.’” Id.

        These cases make clear that the SEC may no longer bring actions unencumbered by

 limitations periods, merely by labeling a penalty as “equitable.” Indeed, in United States v. EME

 Homer City Generation, L.P., the Third Circuit ruled that an injunction was not exempt from

 Section 2462, where characterizing the penalty as an injunction “would amount to little more

 than an end-run around the five-year statute of limitations on ‘any civil fine, penalty, or

 forfeiture, pecuniary or otherwise.’” 727 F.3d 274, 295-96 (3d Cir. 2013).

        c.      Disgorgement and Injunctions Are Subject to the Same
                Two-Part Test Under Kokesh to Determine Whether a Sanction is a Penalty

        If the injunctions at issue here are sought as a consequence for an alleged violation of law

 and intended as punishment, even in part, they are time-barred. The SEC attempts to avoid the

 implications of Kokesh, and the numerous circuit and district courts applying the same analysis

 to injunctions, by using a sleight of hand, arguing that “a properly imposed injunction designed

 to protect the public, not to punish…is not a penalty under Section 2462,” and thus, concluding

 that the injunctions sought here are not time-barred. (SEC Opp. pg. 11.) But this misses the



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 point: the injunctions sought here, as made clear on the face of the Complaint which alleges no

 remedial justification, are indisputably intended, at least in part, to punish Gentile. They are not

 crafted entirely to protect the public from future harm nor to restore the status quo ante. Indeed,

 the SEC highlights the fact that it has not even crafted the language it purportedly ultimately

 intends to impose “to protect the public” (and strangely argues that is a reason to permit this case

 to proceed). This Court need not entertain the SEC’s theoretical arguments about what

 constitutes a “proper injunction,” and may dismiss the SEC’s claims seeking this specific

 punitive injunction given that the specific facts alleged in this complaint clearly demonstrate that

 the injunctions sought here are punitive. See Weinberger v. Romero-Barcelo, 456 U.S. 305, 313

 (1982) (“…a federal judge sitting as chancellor is not mechanically obligated to grant an

 injunction for every violation of the law.”).

            d. Under Kokesh, an Industry Bar Is Punitive Not Equitable

        The SEC argues that “properly imposed penny stock bars are intended to protect the

 investing public from future harm.” (SEC Opp. pg. 27). But that argument also ignores the

 statutory language which makes plain that industry bars are backward looking penalties intended

 to punish the defendant for wrongful past conduct. See 15 U.S.C. § 77t(g) (permitting a

 permanent bar against “any person…[who]…at the time of the alleged conduct was participating

 in, an offering of penny stock…”). Unlike injunctions, which contain language requiring the SEC

 to demonstrate the defendant is engaged in or is about to engage in a securities violation –

 thereby making them, in theory, forward looking – the SEC is authorized to impose an industry

 bar based on past conduct, regardless of whether there is any likelihood of recidivism.

        For this reason, courts have consistently held that industry bar injunctions, like the one

 sought here, are punitive, and thus subject to Section 2462’s limitations period. See, e.g., de la




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 Fuente v. F.D.I.C., 332 F.3d 1208, 1219 (9th Cir. 2003) (order seeking removal from banking

 constitutes a penalty under § 2462); Proffitt v. F.D.I.C., 200 F.3d 855, 861 (D.C. Cir. 2000)

 (expulsion of defendant from banking industry constituted civil penalty although it had dual

 effect of protecting public and punishing defendant as “manifested by the fact that the FDIC did

 not act for more than six years after Proffitt’s misdeeds”); Johnson, 87 F.3d at 491 (vacating

 industry suspension under § 2462 because it was not “directed toward correcting or undoing the

 effects” of defendant’s conduct, but that the “putatively civil or regulatory sanction is in actuality

 a back-door form of punishment…”).

         The allegations in the Complaint do not plausibly allege that the SEC seeks a penny stock

 bar solely to protect the investing public, but rather that it seeks the penny stock bar, at least in

 part, to punish Gentile for conduct allegedly occurring nearly a decade ago. See Johnson, 87 F.3d

 at 491 n.1 (“It is clearly possible for a sanction to be “remedial” in the sense that its purpose is to

 protect the public, yet not be “remedial” because it imposes punishment going beyond the harm

 inflicted by the defendant.”).

             e. The Concurrent Remedies Doctrine Precludes the SEC from Obtaining Equitable
                Relief on a Claim that it Admits Is Otherwise Time-Barred.

         Finally, since the SEC has abandoned all its legal remedies, i.e., civil penalties and

 disgorgement and now seeks only “equitable” relief, the “concurrent remedy doctrine” requires

 that the Complaint be dismissed. The concurrent remedy doctrine provides that a statute of

 limitation barring a legal claim will also bar an equitable claim “when the jurisdiction of the

 federal court is concurrent with that at law, or the suit is brought in aid of a legal right.” See Fed.

 Election Comm’n v. Williams, 104 F.3d 237, 240 (9th Cir. 1996); see also Sierra Club v.

 Oklahoma Gas & Elec. Co., 816 F.3d 666, 675 (10th Cir. 2016). “[B]ecause the claim for




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 injunctive relief is connected to the claim for legal relief, the statute of limitations applies to

 both.” FEC, 104 F.3d at 240. (citing Cope v. Anderson, 331 U.S. 461, 464 (1947)).

     II.      The SEC is Not Entitled to Discovery Because the SEC Here Has Failed to
              Satisfy Basic Pleading Standards Mandating Dismissal of the Complaint

           The SEC seeks to avoid dismissal of its stale claims by urging this Court to permit

 discovery, so that it might uncover facts supporting an injunction, and then either hold a hearing

 or otherwise get to a “determination on the merits” before the Court determines whether the

 injunction sought is partially punitive. This argument undermines the spirit and letter of Gabelli,

 Kokesh, and the Rules of Civil Procedure, rendering the pleading requirements null.

           The SEC attempts an end-run around the plausibility requirement, that is, the requirement

 that it make at least some “showing” that it is seeking a purely remedial injunction, rather than a

 time-barred punitive injunction. The SEC’s argument that “[t]he SEC’s prayer for injunctive

 relief is a remedy, not a separate claim,” and therefore subject to no limitations period, fails as a

 matter of common sense and as a matter of law.

           The practical effect of the SEC’s argument would be to render Section 2462 meaningless.

 Section 2462 does not impose a time limit on a remedy, but instead imposes a time limit on “an

 action, suit or proceeding for the enforcement of any civil fine, penalty or forfeiture, pecuniary or

 otherwise.” Thus, Section 2462 sets a limitations period of five years for any action the

 government could possibly bring that includes a punitive remedy. There is no credible argument

 that Congress – in drafting Section 2462 – intended to give the SEC authority to bring an action

 against a defendant at any time in perpetuity. Nor would the Supreme Court, having just

 provided clear guidance in both Gabelli and Kokesh, permit the SEC to seek an injunction after

 five years merely because the SEC has labeled the relief a “remedy” instead of a “claim” as it

 again attempts to do here.



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           The remaining question is whether, based solely on the allegations in the Complaint, the

 SEC has made out a plausible allegation that the injunctions sought are entirely equitable,

 meaning that it alleges the defendant is engaged or about to engage in a violation. It has not.

           The SEC acknowledges that all its “claims” are time-barred, but that it should be entitled

 to discovery and a hearing on its request for a remedy. But the Rules of Civil Procedure do not

 even permit such a request. Indeed, Rule 26(b)(1) provides that, “Parties may obtain discovery

 regarding any non-privileged matter that is relevant to any party’s claim or defense” (emphasis

 added). Since the SEC acknowledges it no longer has any claims, and only seeks a remedy, the

 Rules of Procedure preclude the SEC from obtaining further discovery in this case anyway.

    III.      Gentile’s “Public Pronouncements” Do Not Permit the SEC to Impose an
              Injunction

           Having failed to set forth any credible legal argument to support its otherwise time-barred

 case against Gentile, the SEC seeks to save it with references to irrelevant, wrong, and in some

 cases, constitutionally-protected online speech, which the SEC believes show Gentile in a

 negative light. For example, the SEC repeatedly asserts in its brief that Gentile has already

 “confessed” to the conduct alleged in the complaint by citing to a statement made by the

 prosecution in the criminal case in connection with Gentile’s ultimately successful motion to

 dismiss the indictment. But that line was an attorney’s argument, and was never introduced by

 way of affidavit. There is no evidence in the record on this point, and it is otherwise irrelevant as

 all allegations in the Complaint are presumed true for purposes of this motion.

           More egregiously, the SEC points to other extra-judicial statements which do not relate to

 any potential violation of the securities law, but how he feels he was treated by the government.

 But Gentile’s out-of-court statements to the press, which may or may not be accurate or truthful,

 certainly do not constitute the type of documentary evidence that a party can rely on in



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 responding to a motion to dismiss. These documents can and should be disregarded. See U.S. ex

 rel. Spay v. CVS Caremark, 913 F. Supp. 2d 125, 139 (E.D. Pa. 2012) (“Facts that may be

 judicially noticed are those not subject to reasonable dispute.”) To be clear, no answer has been

 filed in this case and so Gentile has not made any “admissions” about his conduct at all.

         Moreover, the comments the SEC cites have nothing to do with a plausible argument

 regarding a future securities violation, and have everything to do with the SEC’s desire to

 retaliate against Gentile’s criticism of the governmental entities that have prosecuted actions

 against him. Gentile has a clear right to make comments that “demonstrate a contempt for the

 regulatory and enforcement authority of the SEC” (SEC Opp. pg. 10) without it being used

 against him to suggest a propensity to violate the law. While Gentile’s speech is clearly

 protected, the SEC’s use of these irrelevant press reports and social media postings in this

 proceeding is just further proof that the SEC’s continued prosecution in this action – despite

 acknowledging all its claims are time-barred – is to punish Gentile for past alleged conduct. Nine

 years later, and after all his work as one of the SEC’s best cooperators, it is just too late.

                                            CONCLUSION

         For the foregoing reasons, Gentile respectfully requests that this court dismiss the

 Complaint in its entirety, with prejudice.

 Dated: August 3, 2017


                                                                 ___________
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